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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

 JEFFREY BERK, et al.,                        Case No.: 18-cv-01364-VC

                Plaintiffs,                   JOINT ADR REPORT

 vs.
                                              Judge: Hon. Vince Chhabria
 COINBASE, INC.,                              Ctrm: 4, 17th Floor

                Defendant.




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          The parties jointly submit this Joint Report in response to the Court’s July 29, 2020

General Order.

I.        CASE STATUS

          On August 6, 2019, this Court denied Defendant Coinbase’s Motion to Compel

Arbitration (Dkt. No. 75); Coinbase subsequently docketed an appeal from the Court’s order on

August 13, 2019. On August 21, 2019, the Court held a hearing at which it orally granted

Coinbase’s Motion to Stay Pending Appeal (Dkt. 78), other than as to discovery relating to

“issues/material that would be used in arbitration proceedings” (Dkt. 82). On July 2, 2020, the

Court ordered Coinbase to produce certain documents demanded by Plaintiffs. (Dkt. 93).

Coinbase has indicated that it intends to commence the production of certain documents by the

first week in September 2020. With regard to the current schedule in the Ninth Circuit Court of

Appeals, Coinbase filed its opening appellate brief on May 18, 2020; Plaintiffs filed their

answering brief on July 17, 2020; and Coinbase’s reply brief is due on September 8, 2020. In

the meantime, the parties are proceeding with limited discovery in the form of document

production ordered by the Court on July 2, 2020 (Dkt. No. 93).

II.       SETTLEMENT DISCUSSIONS

          Throughout the fall of 2019 and early 2020, the parties engaged in extended settlement

discussions, which included the exchange of information and production of documents by

Coinbase. However, the discussions did not resolve the matter and, by late January 2020, the

parties had agreed to proceed with the appeal. The parties do not believe that further settlement

discussions would be productive given their divergent views on the strength of Plaintiffs’ case.

Accordingly, the parties have agreed to continue proceeding with the appeal and do not require

the assistance of a magistrate judge or the Court’s ADR services at this time.

III.      CERTIFICATION

          Counsel for Coinbase and counsel for Plaintiffs (as reflected in the signatures below)

certify that they have shown the Court’s July 29, 2020 Order to their respective clients.

          //

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DATED: August 26, 2020               KEKER, VAN NEST & PETERS, LLP


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                                          ATTESTATION

          I hereby attest that I have obtained concurrence in the filing of this document from each

of the other persons whose signatures are indicated by a conformed signature (/S/) within this

document.



DATED: August 26, 2020                             /s/Steven P. Ragland
                                                   Steven P. Ragland




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